Case 3:01-cv-00855-HTW-EGJ-DCB Document 92-1 Filed 09/12/11 Page 1 of1

District Population

1

2
3
4

788,095
668,263
756,924
754,015

Deviation Deviation %

46,271
-73,561
15,100
12,191

6.2%
-9.9%
2.0%
1.6%

White
543,846
207,275
462,792
540,771

White %

69.0%
31.0%
61.1%
71.7%

Black Black %

215,873
444,269
263,523
174,720

27.4%
66.5%
34.8%
23.2%

18+ Pop
587,761
489,701
567,779
566,501

18+ Pop %
74.6%
73.3%
75.0%
75.1%

18+ Wht
420,176
168,181
362,693
419,591

18+ Wht %
71.5%
34.3%
63.9%
74.1%

18+ Blk
150,474
310,007
185,273
121,745

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18+ BIk%
25.6%
63.3%
32.6%
21.5%

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